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CURRICULUM VITAE



                                 Paul S. Mueller
                                 Federal Bureau of Investigation

                                 Data Intercept Technology Unit
                                 Communications Intercept Section
                                 Operational Technology Division
                                 Quantico, VA 22135
PROFESSIONAL EXPERIENCE

     Federal Bureau of Investigation 03/2007 - Present

     Supervisory Special Agent

     ·      Assigned to the Operational Technology Division, Data Intercept Technology Unit in
            Quantico, Virginia, and is responsible for assisting with the lawful interception,
            processing, validation, and dissemination of digital information in support of FBI
            operations.


     Federal Bureau of Investigation 01/2001 - 03/2007

     Special Agent

     ·      Tasked to the Portland Division of the FBI investigating computer crimes and received
            training in the investigation of computer, telecommunications, and other technology
            crimes.

     ·      Worked as a certified forensic examiner of the FBI’s Computer Analysis Response
            Team, which involves the search of computers and retrieval of data from computer
            systems and related media.


     Federal Bureau of Investigation 03/1997 - 01/2001

     Computer Specialist

     ·      Assigned to the Omaha Division of the FBI to help in the daily operation of all
            computers and peripheral devices functioning in a stand-alone, network, or mainframe
            mode, including major systems provided by FBIHQ. In addition, provided technical
            advice, guidance, and support to Special Agent personnel and support personnel
            regarding; backup of operating systems and software, configurations, and uses.
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       ·       Serve as a specialist concerning the capabilities and potential of on-line applications
               and individual micro programs used to support administrative and investigative efforts.
               Effectively set up training programs based on determination of office training needs.
               Obtain and review standardized instructional material/programs documentation, and
               consistently determines adequacy of material to meet individual needs.


EDUCATION

       ·       Master of Science - Computer Information Systems - November 1999
       ·       Bachelor of Science - Computer Information Systems - February 1998
       ·       Associate Degree - Applied Sciences - Electronics - March 1996




PROFESSIONAL AFFILIATIONS/COMMITTEES
FBI Agents Association
